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                           IN THE UNITED STATES DISTRICT COURT

                          FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,                                 )
                                                          )
        Plaintiff,                                        )
                                                          )
        v.                                                )       CRIMINAL NO. 04-30139-WDS
                                                          )
DOUGLAS FARMER,                                           )
                                                          )
        Defendant.                                        )


                                     MEMORANDUM & ORDER



STIEHL, District Judge:

        This matter is before the Court on defendant’s motion to suppress evidence (Doc. 437) to which

the government has filed a response (Doc. 446). The Court heard oral argument on the motion and took

the matter under advisement.1

        The defendant seeks, in his motion to suppress evidence seized by the government as a result of

electronic surveillance and wiretap evidence of the defendant’s cellular and residential telephone. The

defendant asserts that the numerous extensions of the initial surveillance order violated the defendant’s

rights and amounted to excessive use of the government’s surveillance authority.

        The Seventh Circuit has held that:

             Federal law requires each wiretap application to contain a full and
             complete statement as to one of the following: (1) whether or not
             other investigative procedures have been tried and failed, (2) why
             other investigative procedures reasonably appear to be unlikely to
             succeed if tried, or (3) that other investigative procedures are too
             dangerous. See 18 U.S.C. § 2518(1)(c). We have previously held that
             “the government's burden of establishing its compliance with
             subsection 2518(1)(c) is not great” and should “be reviewed in a
             practical and commonsense fashion.” United States v. Zambrana, 841
             F.2d 1320, 1329 (7th Cir.1988).



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       The Court previously granted that part of the defendant’s motion which sought disclosure of the
documents related to the surveillance and wiretap evidence (See. Order at Doc. 449).
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United States v. Ceballos, 302 F.3d 679, 683 (7th Cir. 2002). In this case, each extension sought by the

government included a “full and complete statement as to whether or not other investigative procedures

have been tried and failed or why they reasonably appear to be unlikely to succeed if tried ....” 18 U.S.C.

§ 2518(1)(c).    Here, the Court’s review of the applications reveals that they contained details as to the

numerous factual bases for the government’s assertions that the initial wiretaps, and the extensions of

those wiretaps, were necessary to establish the full extent of the drug conspiracy, including the need to

identify the sources as well as the individuals involved. In particular, the need to determine and evaluate

defendant’s involvement within the organization was a reasonable basis for the extensions granted by the

Court of the initial wiretap authority. The extensions applications and affidavits are detailed in nature,

setting forth the information received to the point when the extension was sought and the need to further

investigate the organization.

        The Seventh Circuit has held that “violation of the wiretap statute is not grounds for suppression

unless the defendant can establish bad faith or prejudice.”Ceballos, 302 F.3d at 684; see also United

States v. Matthews, 213 F.3d 966, 969-70 (7th Cir. 2000). Upon review of the record, the Court FINDS

that the defendant has not established that there was bad faith in the initial application or in any extension

received by the government.

        Accordingly, the Court FINDS no basis for suppression of the evidence and defendant’s motion

to suppress evidence is DENIED on all grounds.



IT IS SO ORDERED

DATED:          March 31, 2006

                                                             s/ WILLIAM D. STIEHL
                                                                 DISTRICT JUDGE




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